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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                   CRIMINAL ACTION

VERSUS                                                                                  NO. 06-301

LOUIS JOHNSON                                                                      SECTION “K”

                                   ORDER AND REASONS

                Before the Court is Louis Johnson’s petition under 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct Sentence by a Person in Federal Custody. Having reviewed the pleadings,

memoranda, and relevant law, the Court finds that the movant is not entitled to relief and denies

the motion for the following reasons.

I.     BACKGROUND

                A grand jury charged Louis Johnson (“Petitioner”) with a fourteen-count second

superseding indictment in November 2008, (Rec.Doc. No. 193). In April 2009, Petitioner

pleaded guilty to three charges: drug trafficking conspiracy involving at least fifty grams of

cocaine base and at least 500 grams of cocaine hydrochloride in violation of 21 U.S.C. §

841(a)(1), (b)(1)(A); conspiracy to use, carry, and possess firearms in furtherance of a drug

trafficking crime in violation of 18 U.S.C. § 924(o); and possessing a firearm in furtherance of a

drug trafficking crime in violation of 18 U.S.C. § 924(c). (Rec.Doc. No. 224). Combined, these

charges carried a statutory minimum fifteen year term of imprisonment and a maximum of life

imprisonment. Id. In pleading guilty, Petitioner waived his rights to appeal, including those

pursuant to 28 U.S.C. § 2255, though he reserved the right to appeal the denial of his motion to

suppress. Id.

                At re-arraignment, prior to accepting Petitioner’s plea, this Court discussed with

him, in detail, the consequences of signing the waiver and pleading guilty. (Rec. Doc. 314).


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Specifically, the Court informed Petitioner that, if he pleaded guilty, he would be sentenced to at

least fifteen years imprisonment and up to life imprisonment. (Id. at 13). The Court also warned

that should the sentence imposed be more than Petitioner anticipated, he would nonetheless be

bound by his plea and have no right to withdraw it. (Id. at 12). Petitioner acknowledged that he

fully understood these terms and was pleading guilty voluntarily. (Id. at 6-19). Moreover,

Petitioner stated that he had enough time to discuss the case with his attorney, and he expressed

satisfaction with his attorney’s performance. (Id. at 5).

II.     LAW AND ANALYSIS

        A.     Evidentiary Hearing

               Having fully reviewed the record, the Court determines that Petitioner’s claims

can be decided on the pleadings, memoranda, and the record and, as such, there is no need for an

evidentiary hearing. See 28 U.S.C. § 2255; United States v. Smith, 915 F.2d 959, 964 (5th Cir.

1990) (“If the record is clearly adequate to dispose fairly of the allegations, the court need

inquire no further.”); Franklin v. United States, 589 F.2d 192, 193 (5th Cir. 1979). Furthermore,

while Petitioner alleges he was promised a shorter sentence than he received (despite his

statements under oath to the contrary), he does not allege specifically who made what promise

when or that an eyewitness was present. See United States v. Cervantes, 132 F.3d 1106, 1110

(5th Cir. 1998).

        B.     Waiver of Collateral Proceedings

               “An informed and voluntary waiver of post-conviction relief is effective to bar

such relief.” United States v. Wilkes, 20 F.3d 651, 653 (5th Cir. 1994). Nonetheless, an

ineffective assistance of counsel challenge may not necessarily be included in such a waiver. Id.

“Only when the claimed assistance directly affected the validity of that waiver or the plea itself”



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can an ineffective assistance of counsel claim survive that waiver. United States v. White, 307

F.3d 336, 343 (5th Cir. 2002). “To be valid, a defendant's waiver of his right to appeal must be

informed and voluntary. A defendant must know that he had a ‘right to appeal his sentence and

that he was giving up that right.’” U.S. v. Portillo, 18 F.3d 290, 292 (5th Cir.1994) (citations

omitted).

               This Court is convinced that Petitioner had such knowledge, especially in light of

the Court’s intensive inquiry at the time of the plea that Petitioner knowingly waived his right to

file for post-conviction relief including the filing of the instant motion pursuant to 28 U.S.C. §

2255. He was specifically informed by the Court that he was waiving these rights. In relevant

portions of the colloquy, the Court confirmed the Petitioner’s understanding of these waivers:

               THE COURT: … First, you may appeal if I impose a sentence in
               excess of the statutory maximum. Second … you may appeal your
               sentence if you can show you were deprived of certain
               Constitutional rights, including the effective assistance of counsel.
               And, as stated in your plea agreement, you can appeal the denial of
               your Motion to Suppress. Do you understand that?

               THE DEFENDANT LOUIS JOHNSON: Yes, sir.

               …

               THE COURT: Well, which to be clear, it would be impossible in
               this case for me to go beyond the statutory maximum.

               MR. JENKINS: That’s right.

               MR. BOITMANN: That’s correct.

               THE COURT: So, as the plea agreement then states that really
               your only rights of appeal, let me go over it again, are one, your
               Motion to Suppress, which is reserved; and two, if you were
               deprived of certain Constitutional rights including the effective
               assistance of counsel. Do you understand that, sir?

               THE DEFENDANT LOUIS JOHNSON: Yes, sir.




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(Rec.Doc. No. 314 at 10-12). Furthermore, Petitioner attested in open court that he understood

the plea agreement that he signed. (Id. at 20).

               With respect to the voluntary nature of the plea, the Court specifically inquired

whether Petitioner was influenced, induced or persuaded, in any manner, to plead guilty because

of any threats made by anyone, to which he answered negatively. (Id. at 17-18). There is no

evidence of, nor does Petitioner allege, any actual or threatened physical harm, or mental

coercion overbearing the will of the defendant. Again, at the time of the plea, the Court

specifically questioned and was satisfied that the defendant was entering into the plea

voluntarily, and the Court is satisfied that Petitioner made an informed and voluntary waiver of

post-conviction relief.

       C.      Ineffective Assistance of Counsel

               Where a petitioner has waived his right to relief under 28 U.S.C. § 2255, the

waiver applies to claims of ineffective assistance of counsel with two important exceptions. See

White, 307 F.3d at 339. A petitioner’s waiver is not valid where: 1) he argues that the ineffective

assistance of his counsel rendered his waiver involuntary; or 2) he argues that he received

ineffective assistance of counsel at his sentencing and that all ineffective assistance of counsel

arguments are immune from waiver. See id. Here, Petitioner argues the first alternative and

asserts in his motion that “but for any of these errors [by counsel], Petitioner would not have pled

guilty but would have insisted on proceeding to trial.” (Rec.Doc. No. 361 at 4).

               To make a valid claim for ineffective assistance of counsel, a petitioner must

demonstrate both prongs of the test set forth in Strickland v. Washington, 466 U.S. 668, 104

S.Ct. 2052, 80 L. Ed. 2d 674 (1984). He must show that: 1) his counsel's performance was

deficient; and 2) his counsel's deficient performance prejudiced his defense. Id. at 687, 104 S.



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Ct. at 2064. While Strickland concerned a capital sentencing proceeding, the United States

Supreme Court has held that the same test applies to claims of ineffective assistance of counsel

during the plea process. Hill v. Lockhart, 474 U.S. 52, 58, 106 S. Ct. 366, 370, 88 L. Ed. 2d 203

(1985).   As to the first prong of the test, a defendant must show that “counsel's representation

fell below and objective standard of reasonableness.” Id. at 57, 106 S. Ct. at 369 (quoting

Strickland, 466 U.S. at 687-688, 104 S.Ct. at 2065.). The defendant must also show, however,

that “but for counsel's unprofessional errors, the result of the proceeding would have been

different.” Id. (quoting Strickland, 466 U.S. at 694, 104 S.Ct. at 2068.). This two-part test

applies when a defendant challenges his guilty plea based on ineffective assistance of counsel.

Id. at 58, 106 S. Ct. at 370. In this context, the “prejudice” requirement hinges on whether

counsel's constitutionally defective performance caused the defendant to plead guilty. Id. at 59,

106 S. Ct. at 370. In other words, the defendant must prove “that there is a reasonable

probability that, but for counsel's errors, he would not have pleaded guilty and would have

insisted on going to trial.” Id. Finally, this Court must “indulge a strong presumption that

counsel's conduct falls within the wide range of reasonable professional assistance; that is, the

defendant must overcome the presumption that, under the circumstances, the challenged action

might be considered sound trial strategy.” Strickland, 466 U.S. at 689, 104 S.Ct. at 2065.

               Petitioner asserts that his counsel rendered ineffective assistance of counsel in the

following respects:

                       His counsel failed to “inform and advise Petitioner of the violations of
                       Petitioner’s statutory and constitutional rights to a speedy trial”;

                       His counsel was not present “during two meetings with prosecutors who
                       threatened Petitioner with a life sentence unless he pled guilty”;

                       His counsel failed “to investigate and review any of Petitioner’s witnesses,
                       although requested by Petitioner”;


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                       His counsel failed “to show any discovery to Petitioner and to explain the
                       true nature and elements of the offense”;

                       His counsel gave “erroneous advice as to the sentence Petitioner would
                       receive”;

                       His counsel failed “to properly argue the motion to suppress”;

                       His counsel “failed to put on any evidence, and failed to make the proper
                       arguments during sentencing to sustain the objection to the 4 level
                       leadership enhancement [and] failed to raise the issue on appeal.”

(Rec.Doc. No. 361 at 4-5, 7).

               1.      Speedy Trial Violation

               Petitioner, in his guilty plea, waived his right to raise a claim of a speedy trial

violation in any post-conviction proceeding, such as the instant motion. See United States v.

Cothran, 302 F.3d 279, 285-86 (5th Cir. 2002) (“A plea of guilty admits all the elements of a

formal criminal charge and waives all non-jurisdictional defects in the proceedings leading to

conviction.”); United States v. Bell, 966 F.2d 914, 915 (5th Cir. 1992) (“In the Fifth Circuit, a

speedy trial violation is a non-jurisdictional defect waived by a guilty plea.”); United States v.

Broussard, 645 F.2d 504, 505 (5th Cir. 1981) (“The entry of a knowing and voluntary guilty plea

waives all non-jurisdictional defects in the proceeding. This disposes of the speedy trial claim.”).

               Petitioner contends that he received ineffective assistance of counsel because

counsel failed to protect Petitioner’s right to a speedy trial. Criminal trials must commence

within seventy days of the defendant’s initial appearance or the filing of an indictment,

whichever is later. 18 U.S.C. § 3161(c)(1). Where the government files a superseding

indictment, as long as “[t]here is no abuse of the superseding indictment system,” the trial must

commence within seventy days “of the arraignment on the superseding indictment.” United

States v. Harris, 566 F.3d 422, 429 (5th Cir. 2009). The Speedy Trial Act allows certain events

permissibly to pause the seventy-day clock. See 18 U.S.C. § 3161(h). For example, delays from

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pretrial motions and the actions of codefendants are automatically excludable. See id. at §

3161(h)(1)(d); (3)(B)(6); see also United States v. Bermea, 30 F.3d 1539, 1567 (5th Cir. 1994)

(“[T]he excludable delay of one defendant may be attributed to all defendants.”). Furthermore,

any period of continuance is excludable from the speedy trial calculation “if the judge granted

such continuance on the basis of his findings that the ends of justice served by taking such action

outweigh the best interest of the public and the defendant in a speedy trial.” Id. at §

3161(h)(7)(A).

                 Here, after a review of the record, the Court is satisfied that Petitioner’s speedy

trial clock was appropriately paused at various times under the statutory authority of the Speedy

Trial Act and properly restarted by the filing of superseding indictment expanding the scope of

the criminal investigation by adding additional conspirators to the case. (See, e.g., Rec.Doc. No.

122) (citing 18 U.S.C. § 3161(h)(8)(A); (B)(i); (B)(iv); (B)(ii)); see also Harris, 566 F.3d at 429.

As fewer than seventy non-excludable days lapsed between Petitioner’s arraignment on the first

superseding indictment and his guilty plea, there can be no Strickland violation. Petitioner has

demonstrated neither deficient performance nor prejudice.

                 2.     Prosecutor’s Threats

                 Petitioner alleges that, without the assistance of counsel, he had two meetings

with prosecutors where he was threatened with a life sentence if he did not plead guilty.

However, Petitioner does not make any specific allegations as to what dates and with whom such

meetings occurred; nor does he allege that he signed his plea agreement at one of these meetings

or made any statements that were used against him. Additionally, this allegation is in direct

conflict with Petitioner’s statement under oath that he was not “influenced, induced or persuaded

in any manner to plead guilty because of any threats made by anyone.” (Rec.Doc. No. 314 at



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18). Finally, the government denies that any such meetings occurred. (Rec.Doc. No. 384 at 13).

The Court thus has no basis to conclude that any such meetings ever occurred. Petitioner has not

made sufficient allegations to sustain a claim of ineffective assistance of counsel. See Miller v.

Johnson, 200 F.3d 274, 282 (5th Cir. 2000) (“This Court has made clear that conclusory

allegations of ineffective assistance of counsel do not raise a constitutional issue in a federal

habeas proceeding.”).

               3.       Counsel’s Failure to Investigate

               Petitioner claims that he “repeatedly told counsel that the guns belonged to his

friend, who would admit that the firearms all belonged to him and that they had been left at

Petitioner’s house so they could attend a ball game.” (Rec.Doc. No. 361 at 4). Petitioner argues

he received ineffective assistance of counsel because his attorney failed to ask Petitioner’s friend

to admit to owning the firearms and therefore his “guilty plea to the 924(c) charge was

unknowing and involuntary.” (Rec.Doc. No. 391 at 12). However, any person who “possesses a

firearm” (regardless of ownership) in furtherance of a drug trafficking crime is in violation of

that provision. 18 U.S.C. § 924(c)(1)(A). A defendant may constructively possess a firearm in

furtherance of a drug trafficking crime by keeping drugs and a firearm in his home. See United

States v. Arnold, 467 F.3d 880, 882-83 (5th Cir. 2006) (quoting United States v. Cardenas, 748

F.2d 1015, 1019 (5th Cir. 1984)) (“Possession may be either actual or constructive. Constructive

possession is found if the defendant knowingly has ‘ownership, dominion or control over the

contraband itself or over the premises in which the contraband is concealed.’”). In Arnold, while

the defendant was not home, police searched his apartment pursuant to a search warrant and

found more than fifty grams of crack cocaine and a firearm. Id. at 882. The defendant was

charged with two of the same counts as Petitioner here: “possession with intent to distribute



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more than 50 grams of crack in violation of 21 U.S.C. § 841(a)” and “possession of a firearm in

furtherance of a drug trafficking crime in violation of 18 U.S.C. § 924(c).” See id. The

defendant tried to argue that he did not own or live in the apartment, but the jury found that he

did and convicted him on all counts, including the abovementioned two. See id. at 883.

               Here, under the authority of a search warrant, federal agents searched Petitioner’s

residence and found 334.4 grams of crack cocaine, 1550.3 grams of powder cocaine, an AK-47

assault rifle, and a .45 handgun. (Rec.Doc. No. 223 at 14). Petitioner admits that the contraband

was found at his residence. (See Rec.Doc. No. 314 at 23) Petitioner’s sole argument is that he

did not own the firearms while admitting that he permitted his co-defendant to keep the firearms

in Petitioner’s home. (Rec.Doc. No. 361 at 4; 391 at 12). Based on the evidence in the record,

Petitioner constructively possessed the firearms in violation of 18 U.S.C. § 924(c) because he

exercised dominion and control over the premises where he knew the contraband was concealed.

See Arnold, 467 F.3d at 883. Petitioner thus fails to overcome the presumption that, under these

circumstances, his counsel’s decision not to pursue an argument over the ownership of the

firearms “might be considered sound trial strategy.” Strickland, 466 U.S. at 689, 104 S. Ct. at

2065.

               4.      Counsel’s Failure to Show or Explain Discovery Materials

               Petitioner argues that “[c]ounsel’s failure to review the discovery materials with

Petitioner prevented Petitioner from making an informed decision whether he should plead or

proceed to trial [and] had he been aware of the lack of admissible evidence available to the

government, Petitioner would have elected to proceed to trial.” (Rec.Doc. No. 391 at 12-13).

Petitioner does not articulate a specific claim, nor does he allege what evidence was withheld

him or how he was prejudiced in his proceedings. Furthermore, when the Court asked the



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Petitioner if he had enough time to review the case with his attorney, Petitioner responded that he

did. (Rec.Doc. No. 314 at 5). Petitioner also informed the Court that he was satisfied with his

counsel’s performance. Id. Petitioner’s conclusory allegations are further contravened by the

fact that his counsel moved to suppress evidence and reserved that motion for appeal.

Consequently, Petitioner has not met his burden of demonstrating either deficient performance or

prejudice. See Miller, 200 F.3d at 282; see also Strickland, 466 U.S. at 687, 104 S. Ct. at 2064.

               5.      Counsel’s Erroneous Advice as to Petitioner’s Sentence

               Petitioner argues that his counsel informed him that his plea agreement “would

result in a likely sentence of 10-years or less.” (Rec.Doc. No. 391 at 13). However, when the

Court asked the Petitioner, “Has anyone, including your attorney, told you exactly what sentence

I will impose if I accept your plea of guilty?” the Petitioner responded, under oath, “No.”

(Rec.Doc. No. 314 at 18). Furthermore, the Court specifically told the Petitioner, “If I accept

your plea of guilty I must sentence you to at least 15 years of imprisonment, and at least five

years of supervised release. Do you understand that?” and the Petitioner stated that he

understood. (Id. at 13). The Petitioner, therefore, was well aware that his sentence would be at

least fifteen years and that any promise, if one had indeed ever been made, that the sentence

would be ten years or less could not and would not be fulfilled.

               Petitioner’s uncorroborated claim now is directly contradictory to his statement

under oath. Regardless, Petitioner was informed by the Court that his possible sentence range

was fifteen years to life and, with that knowledge, Petitioner insisted on changing his plea to

guilty. Therefore, Petitioner cannot prove that he was prejudiced because he chose to change his

plea after being fully informed by the Court.




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               6.      Counsel’s Failure to Properly Argue the Motion to Suppress

               Petitioner argues that, while his counsel moved to suppress evidence obtained

from a Title III wiretap and raised the issue on appeal, his counsel fell below the standard of

reasonableness by not arguing that the government must reveal the identity of the confidential

informant. (Rec.Doc. No. 361 at 5). However, there is a longstanding privilege protecting that

identity of confidential informants. See Roviaro v. United States, 353 U.S. 53, 59, 77 S. Ct. 623,

627, 1 L. Ed. 2d 639 (1957). Petitioner fails to cite any authority demonstrating that he would

have been successful in compelling the government to reveal the identity of its confidential

informant. Petitioner’s merely conclusory allegation that the Court would have compelled the

government to reveal the identity of the confidential informant but for counsel’s deficient

performance is not sufficient to sustain a claim of ineffective assistance of counsel. See Miller,

200 F.3d at 282.

           7.     Counsel’s Failure to Properly Argue against Leadership
Enhancement and Failure to Raise the Issue on Appeal

               Petitioner argues that, while his counsel objected to the leadership enhancement

and filed a well-argued memorandum in support of the objection, his counsel failed to subpoena

Petitioner’s five co-defendants because “at least one of [them] would have testified truthfully and

the enhancement would not have been imposed.” (Rec.Doc. No. 361 at 7). Such wrought

speculation as to the testimony of co-defendants cannot sustain a claim of ineffective assistance

of counsel. See United States v. Bertram, 987 F.2d 771, 1993 WL 37153, at *3 (5th Cir. Mar. 1,

1993) (“Self-serving assertions about the testimony of uncalled witnesses are insufficient for

post-conviction relief.”). As to Petitioner’s claim that counsel failed to raise the issue on appeal,

Petitioner waived his right to appeal his sentence in his plea agreement. (Rec.Doc. No. 224 at 2).




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              Petitioner fails to establish that his attorney's representation was deficient or that

he was prejudiced by any alleged deficiency. Accordingly, Petitioner's § 2255 motion to vacate

conviction and sentence is DENIED.

       New Orleans, Louisiana, this 22nd day of April, 2014.



                                                          STANWOOD R. DUVAL, JR.
                                                      UNITED STATES DISTRICT JUDGE




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